_ Case 21-30072-KKS Doc10 Filed 02/08/21 Page 1 of 3

Ga ee a a elt Lele Oe RIV cole mec cca Check one box only as-directed in this form and in Form

122A-1S a
Debtor 1 Richard Edmun Brooke s a

 

 

Debtor 2 Nancy Brooke Ml 1. There is no presumption of abuse
(Spouse, if filing)

C1 2. The calculation to determine if a presumption of abuse

applies will be made under Chapter 7 Means Test
Calculation (Official Form 122A-2).

United States Bankruptcy Court for the: Northern District of Florida

 

Case number 24-30072
(if known) 11 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

 

C] Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income 04/20

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Calculate Your Current Monthly Income

 

1. What is your marital and filing status? Check one only.
C1 Not married. Fill out Column A, lines 2-11.
@ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
C1 Married and your spouse is NOT filing with you. You and your spouse are:
C1 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

[1] Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).

Fill. In the average monthly income that you received from all sources, derived during the-6 full months before you file this ‘bankruptcy case. AVU ‘s
-101(10A).-For example, if you.are filing on September 15, the 6-month-period would be. March 4 through August. 31 . If the amount-of your monthly income
the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result, Do not Include any income amount more than-once..For-example, if
spouses own the same. rental property, put the income from that property'in one column only. If you:/have nothing to report for any line, write $0;in the space.’
Column A. _ Column Bo.
Debtor 1. Debtor Zor.
. >: shon-filing spouse

  
   

 

 

 

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). $ 0.00 § 98.00
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 ¢ 0.00

 

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B Is not
filled in. Do not include payments you listed on line 3. $ 0.00 ¢§ 0.00

5. Net income from operating a business, profession, or farm

 

 

 

 

 

 

 

Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses “$ 0.00
Net monthly income from a business, profession, or farm $ 0.00 Copy here -> § 0.00 § 0.00
6. Net income from rental and other real property
Debtor 1
Gross receipts (before ail deductions) $ 0.00
Ordinary and necessary operating expenses -$ 0.00
Net monthly income from rental or other real property $ 0.00 Copy here -> $ 0.00 $ 0.00
7. Interest, dividends, and royalties $ 0.00 $ 0.00
Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
~ Case 21-30072-KKS Doc10 Filed 02/08/21 Page 2 of 3

pebtor1 Richard Edmun Brooke

 

 

 

Debtor2. Nancy Brooke Case number (ifknown) 21-30072
Column A Column B™
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $ 0.00

 

Do not enter the amount If you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:

For you $ 0.00
For your spouse $ 0.00

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled
if retired under any provision of title 10 other than chapter 61 of that title. $ 1,700.00 ¢ 0.00

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments made
under the Federal law relating to the national emergency declared by the President
under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
coronavirus disease 2019 (COVID-19); payments received as a victim of a war
crime, a crime against humanity, or international or domestic terrorism; or
compensation pension, pay, annuity, or allowance paid by the United States
Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources ona
separate page and put the totai below..

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ 0.00 $ 0.00
$ 0.00 6$ 0.00
Total amounts from separate pages, if any. + $ 0.00 «$ 0.00
11. Calculate your total current monthly income. Add lines 2 through 10 for _
each column. Then add the total for Column A to the total for Column B. $ 1,700.00 #3 98.00 =$ 1,798.00
Total current monthly
Income
Determine Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income from line 14 Copy line 11 here=> $ 1,798.00
Multiply by 12 (the number of months in a year) x 12
12b. The result is your annual income for this part of the form 12b.|$ 21,576.00

 

 

 

13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live.
Fill in the number of people in your household. [| 2 |

 

Fill in the median family income for your state and size of household. 13. |¢ 65,935.00
To find a list of applicable median income amounts, go online using the link specified in the separate instructions

 

 

 

 

for this form. This list may also be available at the bankruptcy clerk's office.
14, How do the lines compare?

14a. TH Line 12bis less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 122A-2.

14b. 1 Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A—2.

Sign Below

 

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

 

X /s/ Richard Edmun Brooke X /s/ Nancy Brooke

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
Case 21-30072-KKS Doc10 Filed 02/08/21 Page 3 of 3

Debtor1 Richard Edmun Brooke

 

 

 

 

 

Debtor2 Nancy Brooke Case number (ifknown) 21-30072
Richard Edmun Brooke Nancy Brooke
Signature of Debtor 1 Signature of Debtor 2
Date February 4, 2021 Date February 4, 2021
MM/DD /YYYY MM/DD /YYYY
If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 14b, fill out Form 422A-2 and file it with this form.
Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
